Case 5:20-cv-02618-JWH-KK Document 111-1 Filed 07/28/22 Page 1 of 13 Page ID
                                 #:1708



1    MANCINI SHENK LLP
       Michael V. Mancini (S.B. #263799)
2
       mmancini@mancinishenk.com
3      Peter J. Most (S.B. #143963)
       pmost@mancinishenk.com
4
     1925 Century Park East, Suite 1700
5    Los Angeles, California 90067
     Telephone: (424) 652-4000
6
     Facsimile: (424) 652-4004
7
     Attorneys for Defendant
8
     MTK GLOBAL USA, LLC
9
10                       UNITED STATES DISTRICT COURT

11                     CENTRAL DISTRICT OF CALIFORNIA

12                              EASTERN DIVISION

13   MOSES HEREDIA,                            Case No. 5:20-cv-02618-JWH (KKx)
                                               Assigned to Hon. John W. Holcomb
14              Plaintiff,
15                                             DECLARATION OF MICHAEL V.
          v.                                   MANCINI IN SUPPORT OF
16                                             NOTICE OF MOTION AND
17   MKT GLOBAL SPORTS                         MOTION TO BE RELIEVED AS
     MANAGEMENT, LLC; MTK                      COUNSEL TO DEFENDANT MTK
18   GLOBAL USA, LLC; GOLDEN BOY               GLOBAL USA, LLC
19   PROMOTIONS, INC.; PAUL D.
     GIBSON; and DANIEL KINAHAN,               [Notice of Motion and Motion to Be
20                                             Relieved as Counsel, Memorandum of
21              Defendants.                    Points and Authorities, and Proposed
                                               Order filed concurrently herewith]
22
23                                             Date:        September 2, 2022
                                               Time:        9:00 a.m.
24                                             Place:       Courtroom 2
25
26
27
28
                                           1                 Case No. 5:20-cv-02618-JWH (KKx)
                                                  MANCINI DECL. ISO NOTICE OF MOTION AND
                                                      MOTION TO BE RELIEVED AS COUNSEL
Case 5:20-cv-02618-JWH-KK Document 111-1 Filed 07/28/22 Page 2 of 13 Page ID
                                 #:1709



1                           DECLARATION OF MICHAEL V. MANCINI
2             I, Michael V. Mancini, declare as follows:
3             1.       I am a founding partner at the law firm Mancini Shenk LLP, counsel of
4    record for Defendant MTK Global USA, LLC (“MTK USA”) in this matter. I submit
5    this declaration in support of the Motion to be Relieved as Counsel to MTK USA
6    (“Motion”). I have personal knowledge of the facts stated herein, and, if called upon
7    to do so, could and would testify truthfully and competently with respect thereto.
8             2.       After the filing of the Third Amended Complaint, MTK USA terminated
9    the services of and discharged Mancini Shenk LLP and its attorneys, including
10   Michael V. Mancini and Peter J. Most (collectively, “MSLLP”). Accordingly, Rule
11   1.16(a)(4) of the California Rules of Professional Conduct requires MSLLP to
12   withdraw from this representation.
13            3.       MSLLP has provided MTK USA with written notice of the
14   consequences of being unable to appear pro se in this action, and MTK USA
15   responded that it has no objection to MSLLP’s withdrawal. When given notice of this
16   Motion, MTK USA consented to its filing and confirmed that it has no objection to
17   MSLLP being relieved as counsel and wishes for MSLLP to be relieved as counsel to
18   MTK USA.
19            4.       On July 27, 2022, I gave notice to all counsel that MSLLP intended to
20   withdraw from this representation and in the same communication attempted to
21   schedule a Local Rule 7-3 conference of counsel regarding this Motion. A true and
22   correct copy of that communication is Exhibit A to this Declaration.
23            5.       Plaintiff’s counsel and counsel to Defendant Golden Boy Productions,
24   Inc., confirmed in writing that they have no objection to the motion. True and correct
25   copies of their emails are Exhibit B to this Declaration. Counsel to Defendant Daniel
26   Kinahan did not object, but informed MSLLP that they are no longer counsel to Mr.
27   Kinahan and asked to be removed from the service list for this case. A true and correct
28   copy of that email is Exhibit C to this Declaration. Counsel to Defendant MTK
                                             2              Case No. 5:20-cv-02618-JWH (KKx)
                                                       MANCINI DECL. ISO NOTICE OF MOTION AND
                                                           MOTION TO BE RELIEVED AS COUNSEL
     4870-3820-0876, v. 3
Case 5:20-cv-02618-JWH-KK Document 111-1 Filed 07/28/22 Page 3 of 13 Page ID
                                 #:1710



1    Global Sports Management, LLC noted in a telephone call on July 28, 2022 that MTK
2    Global Sports Management, LLC has not been served in this action, and based thereon
3    expressed no objection to the granting of this Motion.
4             6.       Concurrently with the filing of this Motion and its supporting papers, I
5    will serve them via email upon Delaware counsel to MTK USA, Michael Joyce, The
6    Law Offices of Joyce LLC, 1225 King Street, Suite 800, Wilmington, Delaware
7    19801, mjoyce@mjlawoffices.com.
8
9             I declare under penalty of perjury under the laws of the United States of
10   America that the foregoing is true and correct.
11            Executed July 28, 2022 at San Marino, California.
12
13                                                     /s/ Michael V. Mancini
                                                       Michael V. Mancini
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                                                   3               Case No. 5:20-cv-02618-JWH (KKx)
                                                        MANCINI DECL. ISO NOTICE OF MOTION AND
                                                            MOTION TO BE RELIEVED AS COUNSEL
     4870-3820-0876, v. 3
Case 5:20-cv-02618-JWH-KK Document 111-1 Filed 07/28/22 Page 4 of 13 Page ID
                                 #:1711




              EXHIBIT "A"
        Case 5:20-cv-02618-JWH-KK Document 111-1 Filed 07/28/22 Page 5 of 13 Page ID
                                         #:1712

Michael V. Mancini

From:                    Michael V. Mancini
Sent:                    Wednesday, July 27, 2022 3:59 PM
To:                      rcestero@ggfirm.com rcestero@ggfirm.com (Other); jgeller@ggfirm.com jgeller@ggfirm.com
                         (Other); Eric S. Montalvo; Rajan O. Dhungana; Jason Liang; jly@lianglyllp.com; David Harris
Cc:                      Peter J. Most
Subject:                 Notice of Intent to Withdraw and Request for Conference of Counsel

Importance:              High

Categories:              Filed to ND
FilingIndicator:         -1


Counsel,

As you are aware, our office has been counsel of record to Defendant MTK Global USA, LLC (“MTK USA”) in Heredia, et
al. v. MTK Global Sports Management, LLC, et al., C.D. Cal. Case No. 5:20‐cv‐02618‐JWH‐KK.

Under Local Rule 83‐2.3.2, we intend to file a motion to be relieved as counsel to MTK USA on the basis that our services
have been terminated, thereby necessitating mandatory withdrawal (see Cal. Rules Prof. Cond., Rule 1.16(a)(4)). Please
provide your soonest availability to conduct a conference of counsel under Local Rule 7‐3 or, in the alternative, please
advise if you have no objection to the motion. If all counsel have no objection to the motion, which we expect, then we
will so inform the Court and request that the motion be ruled upon without hearing.

Thank you for your response.

Sincerely,

Michael V. Mancini (He/Him/His) | Founding Partner
MANCINI SHENK LLP
mmancini@mancinishenk.com | o: (424) 652‐4000 | d: (424) 652‐4009
1925 Century Park East, Suite 1700
Los Angeles, CA 90067
Bio | LinkedIn | Twitter
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                                 #:1713




              EXHIBIT "B"
          Case 5:20-cv-02618-JWH-KK Document 111-1 Filed 07/28/22 Page 7 of 13 Page ID
                                           #:1714

Michael V. Mancini

From:                        Eric Montalvo <emontalvo@fedpractice.com>
Sent:                        Wednesday, July 27, 2022 4:53 PM
To:                          Michael V. Mancini; rcestero@ggfirm.com rcestero@ggfirm.com (Other); jgeller@ggfirm.com
                             jgeller@ggfirm.com (Other); Rajan Dhungana; Jason Liang; jly@lianglyllp.com; David Harris
Cc:                          Peter J. Most
Subject:                     RE: Notice of Intent to Withdraw and Request for Conference of Counsel


No objection.

V/r
ESM

Eric S. Montalvo
Founding Partner




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received and notify the sender.


From: Michael V. Mancini <mmancini@mancinishenk.com>
Sent: Wednesday, July 27, 2022 6:59 PM
To: rcestero@ggfirm.com rcestero@ggfirm.com (Other) <rcestero@ggfirm.com>; jgeller@ggfirm.com
jgeller@ggfirm.com (Other) <jgeller@ggfirm.com>; Eric Montalvo <emontalvo@fedpractice.com>; Rajan Dhungana
<rdhungana@fedpractice.com>; Jason Liang <jliang@lianglyllp.com>; jly@lianglyllp.com; David Harris
<david@harrislitigation.com>
Cc: Peter J. Most <pmost@mancinishenk.com>
Subject: Notice of Intent to Withdraw and Request for Conference of Counsel
Importance: High

Counsel,

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                                                                                     1
        Case 5:20-cv-02618-JWH-KK Document 111-1 Filed 07/28/22 Page 8 of 13 Page ID
                                         #:1715
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have been terminated, thereby necessitating mandatory withdrawal (see Cal. Rules Prof. Cond., Rule 1.16(a)(4)). Please
provide your soonest availability to conduct a conference of counsel under Local Rule 7‐3 or, in the alternative, please
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Thank you for your response.

Sincerely,

Michael V. Mancini (He/Him/His) | Founding Partner
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mmancini@mancinishenk.com | o: (424) 652‐4000 | d: (424) 652‐4009
1925 Century Park East, Suite 1700
Los Angeles, CA 90067
Bio | LinkedIn | Twitter
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        Case 5:20-cv-02618-JWH-KK Document 111-1 Filed 07/28/22 Page 9 of 13 Page ID
                                         #:1716

Michael V. Mancini

From:                   Cestero, Ricardo <rcestero@greenbergglusker.com>
Sent:                   Wednesday, July 27, 2022 4:05 PM
To:                     Michael V. Mancini; Geller, Joshua; Eric S. Montalvo; Rajan O. Dhungana; Jason Liang;
                        jly@lianglyllp.com; David Harris
Cc:                     Peter J. Most
Subject:                RE: Notice of Intent to Withdraw and Request for Conference of Counsel

Categories:             Filed to ND
FilingIndicator:        -1


Golden Boy has no objection.



Ricardo P. Cestero
Attorney at Law
Biography | vCard
310.785.6809 Direct
rcestero@greenbergglusker.com

Greenberg Glusker LLP
2049 Century Park East, Suite 2600
Los Angeles, CA 90067
GreenbergGlusker.com

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copies of this email message along with all attachments. Thank you.


From: Michael V. Mancini <mmancini@mancinishenk.com>
Sent: Wednesday, July 27, 2022 3:59 PM
To: Cestero, Ricardo <rcestero@greenbergglusker.com>; Geller, Joshua <jgeller@greenbergglusker.com>; Eric S.
Montalvo <emontalvo@fedpractice.com>; Rajan O. Dhungana <rdhungana@fedpractice.com>; Jason Liang
<jliang@lianglyllp.com>; jly@lianglyllp.com; David Harris <david@harrislitigation.com>
Cc: Peter J. Most <pmost@mancinishenk.com>
Subject: Notice of Intent to Withdraw and Request for Conference of Counsel
Importance: High

Counsel,

As you are aware, our office has been counsel of record to Defendant MTK Global USA, LLC (“MTK USA”) in Heredia, et
al. v. MTK Global Sports Management, LLC, et al., C.D. Cal. Case No. 5:20‐cv‐02618‐JWH‐KK.

Under Local Rule 83‐2.3.2, we intend to file a motion to be relieved as counsel to MTK USA on the basis that our services
have been terminated, thereby necessitating mandatory withdrawal (see Cal. Rules Prof. Cond., Rule 1.16(a)(4)). Please
provide your soonest availability to conduct a conference of counsel under Local Rule 7‐3 or, in the alternative, please
advise if you have no objection to the motion. If all counsel have no objection to the motion, which we expect, then we
will so inform the Court and request that the motion be ruled upon without hearing.

Thank you for your response.
                                                                    1
        Case 5:20-cv-02618-JWH-KK Document 111-1 Filed 07/28/22 Page 10 of 13 Page ID
                                          #:1717

Sincerely,

Michael V. Mancini (He/Him/His) | Founding Partner
MANCINI SHENK LLP
mmancini@mancinishenk.com | o: (424) 652‐4000 | d: (424) 652‐4009
1925 Century Park East, Suite 1700
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Case 5:20-cv-02618-JWH-KK Document 111-1 Filed 07/28/22 Page 11 of 13 Page ID
                                  #:1718




              EXHIBIT "C"
        Case 5:20-cv-02618-JWH-KK Document 111-1 Filed 07/28/22 Page 12 of 13 Page ID
                                          #:1719

Michael V. Mancini

From:                Jason Liang <jliang@lianglyllp.com>
Sent:                Wednesday, July 27, 2022 4:03 PM
To:                  Michael V. Mancini; rcestero@ggfirm.com rcestero@ggfirm.com (Other); jgeller@ggfirm.com
                     jgeller@ggfirm.com (Other); Eric S. Montalvo; Rajan O. Dhungana; John Ly; David Harris
Cc:                  Peter J. Most
Subject:             RE: Notice of Intent to Withdraw and Request for Conference of Counsel

Categories:          Filed to ND
FilingIndicator:     -1


Counsel,

Please be advised that my office is no longer involved in this matter and we are no longer counsel to Mr.
Kinahan. Please take me off of the service list.

Best,
Jason

Jason Liang
LIANG LY LLP
Partner
601 S. Figueroa St., Suite 1950
Los Angeles, California 90017
213.262.8000 (Main)
213.262.8002 (Direct)
213.335.7776 (Fax)
jliang@lianglyllp.com
www.lianglyllp.com

From: Michael V. Mancini <mmancini@mancinishenk.com>
Sent: Wednesday, July 27, 2022 3:59 PM
To: rcestero@ggfirm.com rcestero@ggfirm.com (Other) <rcestero@ggfirm.com>; jgeller@ggfirm.com
jgeller@ggfirm.com (Other) <jgeller@ggfirm.com>; Eric S. Montalvo <emontalvo@fedpractice.com>; Rajan O. Dhungana
<rdhungana@fedpractice.com>; Jason Liang <jliang@lianglyllp.com>; John Ly <jly@lianglyllp.com>; David Harris
<david@harrislitigation.com>
Cc: Peter J. Most <pmost@mancinishenk.com>
Subject: Notice of Intent to Withdraw and Request for Conference of Counsel
Importance: High

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                                                            1
        Case 5:20-cv-02618-JWH-KK Document 111-1 Filed 07/28/22 Page 13 of 13 Page ID
                                          #:1720
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Thank you for your response.

Sincerely,

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